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Attorneys for Plaintiffs
____________________________________
INDUSTRIAS DESAFIO, INC. and         :               UNITED STATES DISTRICT COURT
INDUSTRIAS DESAFIO, SA de CV,        :               FOR THE DISTRICT OF NEW JERSEY
                                     :
                       Plaintiffs,   :               Civil Action No.
       vs.                           :
                                     :
ECKO COMPLEX, LLC. and               :
SWEAT EQUITY LABORATORIES,           :               COMPLAINT
LLC,                                 :
                       Defendants.   :
____________________________________:

        Plaintiffs, Industrias Desafio, SA de CV (“Desafio, SA”) and Industrias Desafio, Inc.

(“Desafio, Inc.”), by way of Complaint against the Defendants, Ecko Complex, LLC (“Ecko”)

and Sweat Equity Laboratories, LLC (“Sweat Equity”), states as follows:


                                                 THE PARTIES

        1.       Desafio, SA is a corporation organized and existing under the laws of Mexico

with a principal place of business located at Av. Revolucion S/N, Santa Cruz Atizapan EDO de

Mexico, 52500 Mexico.

        2.       Desafio, Inc. is a corporation organized and existing under the laws of the State of

Florida with a principal place of business located at 550 Biltmore Way, #103, Coral Gables,

Florida 33134.

        3.       At all times relevant to the causes of action asserted herein, Desafio, Inc. acted as

the agent of Desafio, SA in the United States, pursuant to the scope and authority granted by

Desafio, SA.
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        4.      Sweat Equity is a New Jersey limited liability company with a principal place of

business located at 1 Martin Avenue, South River, New Jersey 08882.

        5.      Ecko is a New Jersey limited liability company with a principal place of business

located at 1 Martin Avenue, South River, New Jersey 08882.

        6.      Upon information and belief, Sweat Equity is a wholly owned subsidiary of Ecko.


                                    JURISDICTION AND VENUE

        7.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §1332(a) by

virtue of the complete diversity of citizenship between the parties and the amount in controversy

exceeds $75,000.00 as to each Defendant.

        8.      Venue is appropriate in this Court pursuant to 28 U.S.C. §1391(a) because all of

the Defendants reside in this District and a substantial part of the events and omissions giving

rise to the claims stated herein occurred in this District.

        9.      In addition, venue is appropriate in this Court because the parties have consented

to the exclusive jurisdiction of the District Court for disputes arising out of, or related to the

contract at issue in this action.


                                     NATURE OF THE CASE

        10.     This is an action by the Plaintiffs for the virtual destruction of their business

caused by the Defendants breach of their obligations under an Equipment Purchase Agreement

and related Preferred Supplier Agreement. The Defendants induced the Plaintiffs to purchase all

of Defendants’ sophisticated silk screening and fabric printing equipment for approximately

$3,000,000.00 based upon the Defendants’ guarantee that they would purchase at least eighty

(80%) percent of their proprietary brand menswear tee shirt printing and production requirements

for a period of five (5) years. In reliance on this guaranty, the Plaintiffs expended substantial


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additional resources to build and fit-out a new facility in Mexico to house the equipment and

meet the projected production needs of the Defendants.

       11.     However, within months after the equipment purchase was completed, the

Defendants breached their obligations under the Preferred Supplier Agreement and refused to

order any more products from the Plaintiffs.

       12.     In addition, the Defendants have failed and refused to pay for in excess of

$3,500,000.00 worth of goods ordered and shipped prior to the Defendants’ breach.


                                 FACTUAL BACKGROUND

       13.     Ecko and Sweat Equity were in the business of, among other things,

manufacturing and selling specialty silk screen and embroidered apparel under the brand name

“Ecko Unlimited.”

       14.     According to their website, Ecko has focused their apparel line towards the hip-

hop and youth culture, developing strong brand recognition in this consumer base which resulted

in reported billings of over $300 million in its men’s sportswear division alone in 2002.

       15.     Beginning in or around the third quarter of 2003, Sweat Equity and Ecko began

negotiations with Desafio regarding a contemplated transaction whereby Desafio would purchase

all of the Plaintiff’s equipment used to produce their Ecko Unlimited tee shirts and then transfer

the equipment and the printing operations to a new facility in Mexico.            As part of the

contemplated transaction, Ecko and Sweat Equity guaranteed that they would order at least eight

(80%) percent of their yearly quota of Ecko Unlimited tee shirts from Desafio for a period of five

(5) years. In addition, Desafio would hire a number of Sweat Equity’s and Ecko’s former

employees to assist with the transfer of the equipment to Mexico and train Desafio’s employees

on how to use equipment.



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     THE EQUIPMENT PURCHASE AND PREFERRED SUPPLIER AGREEMENT

       16.     After negotiating the basic parameters of the contemplated transaction, the

Defendants sent Desafio a proposed agreement. However, the Defendants altered the payment

terms to provide that only $1,800,000.00 of the total purchase was to be paid directly to the

Defendants, while the remaining $1,200,000.00 was to be paid to two individuals in Austria,

Messrs. Josef Poandl and Radivoje Dizdarevic, as commission for allegedly brokering the

transaction.

       17.     On or about September 15, 2003, Sweat Equity and Desafio, SA entered into an

Equipment Purchase and Preferred Supplier Agreement (the “Agreement”). A true copy of the

Agreement is attached hereto as Exhibit A.

       18.     Pursuant to Section 2.1 of the Agreement, Sweat Equity agreed to sell, and

Desafio, SA agreed to purchase all of Sweat Equity’s owned and leased equipment used in the

printing of the Ecko Unlimited tee shirts (the “Equipment”).

       19.     Pursuant to Section 3.1 of the Agreement, Desafio, SA agreed to pay

$1,800,000.00 directly to Sweat Equity for the Equipment.

       20.     On or about March 10, 2004, Desafio, SA and Messrs. Poandl and Dizarevic

executed a separate agreement pursuant to which Desafio, SA agreed to pay the balance of the

purchase price, $1,200,000.00, directly to those individuals, “in consideration for [their]

assistance in brokering the transaction between [Desafio, SA and Sweat Equity], which resulted

in the execution of the [Agreement]” (the “Supplemental Agreement”). A true copy of the

Supplemental Agreement is attached hereto as Exhibit B.

       21.     Pursuant to Section 6.1 of the Agreement, Desafio, SA agreed to hire, for a period

not less than one (1) year, up to four (4) individuals designated by Sweat Equity who would be



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fired by Sweat Equity upon the closing of the Agreement to provide Desafio, SA with training

for its employees on the use of the Equipment.

          22.   Pursuant to Section 6.2 of the Agreement, Sweat Equity agreed to treat Desafio,

SA as a “Preferred Supplier” for a period of five (5) years after the closing on the Agreement.

Preferred Supplier is defined by section 1.29 of the Agreement as, “a supplier which shall supply

a minimum of eighty (80%) of Ecko Complex LLC’s Ecko Unltd. Menswear tee shirt printing

and production requirements, provided that such supplier has fulfilled the Requirements, as such

term is defined in Section 6.2(a).”

          23.   Pursuant to Section 6.2(a) of the Agreement, the “Requirements” referenced in

the Preferred Supplier provision includes certain quality standards, timely shipping requirements

and pricing parameters that Desafio, SA agreed to comply with to retain its Preferred Supplier

status.

          24.   Pursuant to Section 6.2(b) of the Agreement, Sweat Equity required Desafio, SA

to agree to treat Sweat Equity as its “most favored customer,” requiring Desafio, SA to: (i) give

Sweat Equity equivalent or better terms offered to Desafio, SA’s other customers, and (ii) give

Sweat Equity’s orders priority over the orders of other customers.

          25.   Pursuant to Section 7.2 of the Agreement, Sweat Equity agreed to indemnify

Desafio, SA and its affiliates against and hold them harmless from, “any and all damage, claim,

loss, Liability and expense (including, without limitation, reasonable expenses of investigation

and attorneys’ fees and expenses) (collectively, “Damages”) incurred or suffered by [Desafio,

SA or its affiliates] arising out of or relating to (i) any material breach of any representation,

warranty, covenant or other agreement of the Seller contained [in the Agreement] . . .”




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       26.     Pursuant to Section 8.5 of the Agreement, the parties agreed that the laws of the

State of New Jersey would govern the validity, interpretation and effect of the Agreement.

       27.     Pursuant to Section 8.7 of the Agreement, each of the parties consented to the

exclusive jurisdiction of New Jersey State or Federal District Courts for any action related to or

arising out of the Agreement.

       28.     Pursuant to the signature page of the Agreement, Ecko also executed the

Agreement to guaranty Desafio, SA’s status as a Preferred Supplier pursuant to the terms of

Section 6.2 of the Agreement.

                                   THE FACTORING AGREEMENT

       29.     In order to finance the tee shirt printing and production operations, Desafio, SA

and Desafio, Inc. entered into a factoring agreement with Sun Trust Bank (“SunTrust”), whereby

SunTrust would purchase all accounts receivable created by the sales of goods to Sweat Equity

(the “Factoring Agreement”).

       30.     As inducement for SunTrust to enter into the Factoring Agreement, on or about

December 1, 2003, Effy Zinkin, the Senior Vice President of Ecko, wrote a letter to SunTrust

confirming that Sweat Equity and Ecko had entered into a five (5) year preferred supplier

agreement with Desafio, SA whereby Sweat Equity and Ecko agreed to buy from Desafio, SA,

“full package printed Men’s T-Shirts with the ECKO UNLTD. Logo.” Mr. Zinkin further

represented that the average anticipated projected monthly volume is 400,000 units per month.

Mr. Zinkin also confirmed that the current purchase orders for the first quarter of 2004 were in

the approximate volume of 500,000 units per month at an average price of $5.00 per unit totaling

approximately $7,500,000.00 in orders. A true copy of the December 1, 2003 letter to SunTrust

is attached hereto as Exhibit C.



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                SWEAT EQUITY AND ECKO BREACH THE AGREEMENT

        31.     Within months after the Desafio, SA had completed the purchase of the

Equipment and hired the designated employee trainers, Sweat Equity and Ecko failed to comply

with their obligations under the Preferred Supplier provisions of the Agreement.

        32.     Despite the fact that Desafio, SA complied with all of the quality, delivery and

pricing Requirements under the Preferred Supplier provisions of the Agreement, Sweat Equity

and Ecko failed to give Desafio, SA the minimum eighty (80%) of their tee shirt orders as

required under Section 6.2 of the Agreement.

        33.     Moreover, Mr. Eli Reinitz and other representatives of Sweat Equity and Ecko

openly admitted that they never had any intention of complying with their obligations under the

Preferred Supplier provisions of the Agreement, and always intended to place orders with

whichever vendor or supplier gave them the cheapest price.

        34.     In addition to Sweat Equity’s and Ecko’s failure to comply with their obligations

under the Preferred Supplier provisions of the Agreement, Sweat Equity and Ecko have failed

and refused to pay for over $3,500,000.00 worth of products purchased from Desafio, SA prior

to their breach of the Preferred Supplier provisions of the Agreement.

                              COUNT ONE-BREACH OF CONTRACT

        35.     Plaintiffs incorporate by reference the preceding paragraphs of the Complaint as if

fully set forth herein.

        36.     Sweat Equity’s and Ecko’s failure to place at least eighty (80%) of their tee shirt

orders constitutes a breach of the Preferred Supplier provisions of the Agreement.

        37.     The Plaintiffs have, at all times, complied with the quality, delivery and pricing

Requirements of the Preferred Supplier provisions of the Agreement.



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        38.     The Plaintiffs have incurred substantial economic damages as a direct and

proximate result of the breaches of the Preferred Supplier provisions of the Agreement by the

Defendants.

        39.     Further, Sweat Equity’s and Ecko’ failure to pay for the over $3,500,000.00 worth

of goods they ordered from the Plaintiffs and which were delivered to the Defendants constitutes

a breach of contract.

        40.     The Plaintiffs have incurred substantial additional damages as a direct and

proximate result of the Defendants’ breaches of their obligations to pay for the goods that were

ordered and delivered.

        WHEREFORE, Plaintiffs Desafio, SA and Desafio, Inc. hereby demand judgment against

the Defendants Sweat Equity and Ecko, jointly and severally, as follows:

                A.        For compensatory, consequential and incidental damages;

                B.        For attorneys fees and costs of suit; and

                C.        Such other and further relief as the Court deems equitable and just.

          COUNT TWO-BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING

        41.     Plaintiffs incorporate by reference the preceding paragraphs of the Complaint as if

fully set forth herein.

        42.     Under New Jersey law, every contract contains an implied covenant of good faith

and fair dealing.

        43.     Sweat Equity and Ecko breached their duties of good faith and fair dealing to the

Plaintiffs under the Agreement by reason of the conduct described above.




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        44.     As a direct and proximate result of Sweat Equity’s and Ecko’s breaches of their

duties of good faith and fair dealing, the Plaintiffs have suffered, and continue to suffer,

substantial damages.

        WHEREFORE, Plaintiffs Desafio, SA and Desafio, Inc. hereby demand judgment against

the Defendants Sweat Equity and Ecko, jointly and severally, as follows:

                A.        For compensatory, consequential and incidental damages;

                B.        For attorneys fees and costs of suit; and

                C.        Such other and further relief as the Court deems equitable and just.

                                COUNT THREE-UNJUST ENRICHMENT

        45.     Plaintiffs incorporate by reference the preceding paragraphs of the Complaint as if

fully set forth herein.

        46.     As the result of the actions described above, Sweat Equity and Ecko have been

unjustly enriched at the expense of the Plaintiffs.

        47.     The actions of Sweat Equity and Ecko were sufficiently willful, wanton and

malicious to justify the award of punitive damages.

        WHEREFORE, Plaintiffs Desafio, SA and Desafio, Inc. hereby demand judgment against

the Defendants Sweat Equity and Ecko, jointly and severally, as follows:

                A.        For compensatory, consequential and incidental damages;

                B.        For punitive damages in an amount determined by the Court;

                C.        For attorneys fees and costs of suit; and

                D.        Such other and further relief as the Court deems equitable and just.




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                      COUNT FOUR-FRAUDULENT MISREPRESENTATION

        48.     Plaintiffs incorporate by reference the preceding paragraphs of the Complaint as if

fully set forth herein.

        49.     Sweat Equity and Ecko induced the Plaintiffs to enter into the Agreement based

upon the Defendants’ promise and guaranty to comply with the Preferred Supplier provisions of

the Agreement.

        50.     In reasonable reliance upon the Defendants’ representations, the Plaintiffs agreed

to pay in excess of $3,000,000.00 for all of the Defendants’ printing equipment and expended

considerable additional costs to set up the new production facility in Mexico.

        51.     Based upon the admissions of their own representatives, Sweat Equity and Ecko

never intended to comply with the Preferred Supplier provisions of the Agreement.

        52.     Therefore, the representations made by Sweat Equity and Ecko in negotiating and

executing the Agreement were knowingly false at the time they were made, and were made with

the specific intent to induce the Plaintiffs to enter into the Agreement.

        53.     The actions of Sweat Equity and Ecko were sufficiently willful, wanton and

malicious to justify the award of punitive damages.

        WHEREFORE, Plaintiffs Desafio, SA and Desafio, Inc. hereby demand judgment against

the Defendants Sweat Equity and Ecko, jointly and severally, as follows:

                A.        For recission of the Agreement and Supplemental Agreement;

                B.        For compensatory, consequential and incidental damages;

                C.        For punitive damages in an amount determined by the Court;

                D.        For attorneys fees and costs of suit; and




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                  E.         Such other and further relief as the Court deems equitable and just.

                                                   KLEHR, HARRISON, HARVEY,
                                                   BRANZBURG & ELLERS LLP
                                                   Attorneys for Plaintiffs



                                                   By: /s/ Marc H. Stofman_______
                                                       Marc H. Stofman, Esquire

Dated: October 26, 2004
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